        Case 1:21-gj-00048-BAH Document 19 Filed 02/07/22 Page 1 of 13




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
___________________________________
                                    )
                                    )
SEALED,                             )
                                    )
                                    )
            v.                      )  No. 1:21-gj-00048 (BAH) (SEALED)
                                    )
                                    )
SEALED.                             )
___________________________________ )



APPLICANT:         Giorgi Rtskhiladze
                   32 Old Bethel Road
                   Newtown, CT 06470


RELATED CASE: Rtskhiladze v. Mueller, et al., No. 1:20-cv-1591 (CRC)

        PETITIONER’S REPLY TO THE GOVERNMENT’S OPPOSITION
     TO THE MOTION TO UNSEAL ALL RULE 60(b) MATERIALS AND FOR
    THE UNRESTRICTED PRODUCTION OF HIS GRAND JURY TRANSCRIPT




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February 7, 2022
             Case 1:21-gj-00048-BAH Document 19 Filed 02/07/22 Page 2 of 13




                                                   TABLE OF CONTENTS

Introduction

Argument

          1.         The D.C. Circuit Has Rejected the “Particularized Need” Standard
                     in this Context

          2.         DOJ—Not Petitioner—Has the Burden of Persuasion in This Context

          3.         DOJ’s Secrecy Argument Also Was Rejected by the D.C. Circuit

          4.         The Interests of Justice Favor Petitioner

          5.         DOJ Protests Too Much .......................................................................... 4

          6.         DOJ’s Argument Regarding the Nature of Petitioner’s Privacy Act
                     Claim For Damages Is Entirely Self-Serving ............................................... 4

Conclusion ..................................................................................................................................9




                                                                      i
              Case 1:21-gj-00048-BAH Document 19 Filed 02/07/22 Page 3 of 13



                                                         TABLE OF CONTENTS

Cases

Doe v. Roman Catholic Diocese of Greensburg, No. 20-cv-1750, 2022 WL 203455
        (D.D.C. 2022)

Does v. U.S. Dept. of Labor, 451 F. Supp. 2d 156 (D.D.C. 2006)

Friedman v. Sebelius, 672 F. Supp. 2d 54 (D.D.C. 2009)

Grynberg v. BP P.L.C., 205 F. Supp. 3d 1 (D.D.C. 2016)

In re Grand Jury, 490 F.3d 978 (D.C. Cir. 2007)

In re McCormick & Company, Inc., 316 F. Supp. 3d 455 (D.D.C. 2018)

In re Sealed Motion, 880 F.2d 1367 (D.C. Cir. 1989)

In re U.S. OPM Data Sec. Breach Lit., 982 F.3d 42 (D.C. Cir. 2019)

Johnson v. Greater Southeast Community Hosp. Corp., 951 F.2d 1268 (D.C. Cir. 1991)

Tah v. Global Witness Publishing, Inc., 991 F.3d 231 (D.C. Cir. 2021)

Wilkerson v. Shinseki, 606 F.3d 1256 (10th Cir. 2010)

Rules

Fed. R. Civ. P. 60(b)

Fed. R. Crim. P. 6(e)(3)(E)(i)

Fed. R. Cim. P. 9 ..................................................................................................................................... 6




                                                                           ii
         Case 1:21-gj-00048-BAH Document 19 Filed 02/07/22 Page 4 of 13




Introduction

        The Department of Justice’s response to the Motion to Unseal is dead on arrival. DOJ

has it exactly backwards when it argues that Petitioner bears the burden of persuasion. In this

context, a party seeking to keep documents under seal has the burden. Moreover, DOJ’s

arguments about Petitioner’s failure to demonstrate “a particularized need” and the need for

secrecy were flatly rejected in In re Grand Jury, 490 F.3d 978 (D.C. Cir. 2007). DOJ is

otherwise wrong on the merits because the interest of justice does not favor DOJ, DOJ protests

too much in arguing that Petitioner’s action is meritless while at the same time stridently trying

to keep the evidence under seal, and DOJ’s immaterial statements about the merits of Petitioner’s

civil action are entirely self-serving.

        The Court’s Minute Order, dated January 26, 2022, denied the Motion to Unseal to the

extent it seeks to unseal the Rule 60(b) materials and directed that such a motion be directed to

the presiding judge in the related action. Accordingly, this Reply does not address issues related

to those materials.

Argument

        1.      The D.C. Circuit Has Rejected the “Particularized Need” Standard
                in this Context.

        DOJ argues that Petitioner has failed to “demonstrate a particularized need.” DOJ Resp.

at 5-9. But the D.C. Circuit has categorically rejected the “particularized need” standard where

the witness seeks access to the witness’s own grand jury transcript. “For this reason, the

Supreme Court’s ‘particularized need’ standard, which the Court crafted to deal with third-party

requests for secret transcripts of other witnesses’ testimony, does not apply in this first-party

context.” In re Grand Jury, 490 F.3d at 989 (Emphasis original).
         Case 1:21-gj-00048-BAH Document 19 Filed 02/07/22 Page 5 of 13




       2.      DOJ—Not Petitioner—Has the Burden of Persuasion in This Context.

        Because the “particularized need” standard does not apply here, the burden falls upon

DOJ to rebut the presumption against keeping grand jury transcripts under seal. As the D.C.

Circuit explained long ago:

       Whether a grand jury witness is entitled to his own grand jury testimony has
       sparked conflicting rulings and observations in the federal courts. The Supreme
       Court has not passed on this precise question. We conclude that because the right
       to secrecy in grand jury proceedings belongs to the grand jury witness, a grand
       jury witness named in an independent counsel's report is entitled to a transcript of
       his own testimony absent a clear showing by the government that other interests
       outweigh the witness's right to such transcript.

In re Sealed Motion, 880 F.2d 1367, 1370-71 (D.C. Cir. 1989) (Emphasis added). DOJ has

offered no legitimate reason why Petitioner’s transcript should be sealed. 1

       3.      DOJ’s Secrecy Argument Also Was Rejected by the D.C. Circuit.

       DOJ argues that its “interest in secrecy outweigh” Petitioner’s interests. DOJ Resp. at 9-

12. But as the D.C. Circuit observed in In re Grand Jury the privilege regarding secrecy in the

grand jury context belongs to the witness—not the government:

       The witnesses themselves are not under an obligation of secrecy, however. As
       Wigmore explained and as Rule 6 provides, the theory of grand jury secrecy is
       that “the witness is guaranteed against compulsory disclosure; the privilege must
       therefore be that of the witness, and rests upon his consent.”




1
  In this context, the usual rules apply about the burden of placing documents under seal.
Grynberg v. BP P.L.C., 205 F.Supp.3d 1, 3 (D.D.C. 2016). “[A] party seeking to seal court
documents must ‘come forward with specific reasons why the record, or any part thereof, should
remain under seal.’” Friedman v. Sebelius, 672 F.Supp.2d 54, 58 (D.D.C. 2009) (quoting
Johnson v. Greater Southeast Community Hosp. Corp., 951 F.2d 1268, 1278 (D.C. Cir. 1991);
see In re McCormick & Company, Inc., Pepper Products Marketing and Sales Practices
Litigation, 316 F. Supp. 3d 455, 464 (D.D.C. 2018).
                                                 2
         Case 1:21-gj-00048-BAH Document 19 Filed 02/07/22 Page 6 of 13




Id. at 985 (Emphasis original). The court of appeals went on to categorically reject DOJ’s

arguments about secrecy. “[T]he secrecy rationale does not apply when the witness seeks access

to a transcript of his or her own grand jury testimony.” Id. at 988 (Emphasis original). The

court explained that “[p]reventing a third party from reviewing a witness’s grand jury testimony

is essential to guarantee secrecy to witnesses; preventing the witness from reviewing the

witness’s own testimony is entirely unnecessary to guarantee secrecy to witnesses.”

Id. at 988. The court elucidated:

       A grand jury witness is legally free to tell, for example, his or her attorney,
       family, friends, associates, reporters, or bloggers what happened in the grand jury.
       For that matter, the witness can stand on the courthouse steps and tell the public
       everything the witness was asked and answered. … The secrecy rules therefore
       are no justification for denying witnesses access to their own transcripts.

Id. at 989 (Emphasis added).

       DOJ makes a series of meritless arguments about the need for secrecy. DOJ argues that

if the disclosure of a witness’s testimony becomes commonplace it endangers the willingness of

future witnesses to participate candidly before the grand jury. DOJ Resp. at 11. But the issue

only arises where Fed. R. Crim. P. 6(e)(3)(E)(i) applies, i.e., where the witness is involved in

related litigation. And nothing restricts grand jury witnesses from telling the world what was

asked and answered in their appearance before the grand jury.

       DOJ’s argument that unrestricted release of the grand jury transcript will reveal attorney-

work product is specious. DOJ Resp. at 11. But if a grand jury witness can tell the world what

went on in questioning before the grand jury, then a witness already has the ability to disclose

what little work product may be in play. DOJ also argues that unrestricted release of the grand

jury transcript will harm ongoing proceedings and investigations. DOJ Resp. at 12. But none of

the matters cited have anything to do with the subject of Footnote 112.


                                                 3
         Case 1:21-gj-00048-BAH Document 19 Filed 02/07/22 Page 7 of 13




       4.      The Interests of Justice Favor Petitioner.

       DOJ makes the misplaced argument that the interests of justice favor nondisclosure. DOJ

Resp. at 9. But, as discussed above, DOJ—not Petitioner—bears the burden of persuasion. The

Privacy Act claim is based on the defamation in Footnote 112 that derailed Petitioner’s career.

DOJ should not be permitted to publish Footnote 112 without the necessary redactions to protect

the privacy interests of nontargets—which the Attorney General announced DOJ would—while

at the same time aggressively opposing the public disclosure of the grand jury transcript.

       5.      DOJ Protests Too Much.

       DOJ’s arguments about keeping the transcript under seal conflict with the maxim that the

best disinfectant is sunlight. It refuses to correct the defamation in Footnote 112 and at the same

time in its publicly filed briefs it belittles the professional and personal harm it triggered. At the

same time DOJ stridently seeks to keep evidence from seeing the light of day. In Footnote 112

DOJ has given the world its interpretation of Petitioner’s grand jury testimony. An examination

of the transcript shows that Footnote 112 is wrong. Petitioner cannot effectively show the world

that Footnote 112 is wrong without free access to his transcript. DOJ has no legitimate reason

for preventing Petitioner from using his transcript to restore his reputation. If DOJ believes the

civil action lacks merit, then it should not object to making Petitioner’s grand jury transcript

public because presumably doing so will vindicate its position.

       6.      DOJ’s Argument Regarding the Nature of Petitioner’s Privacy Act Claim for
               Damages Is Entirely Self-Serving.

       The impropriety of dismissing the case on the pleadings will be decided by the D.C.

Circuit—not here—unless the district court grants Petitioner’s Rule 60(b) Motion. DOJ’s views

of the merits, therefore, are immaterial. To the extent relevant here, DOJ’s arguments are

myopic at best. DOJ Resp. at 12-14.

                                                  4
            Case 1:21-gj-00048-BAH Document 19 Filed 02/07/22 Page 8 of 13




          The district court found that Footnote 112 was both misleading and inaccurate and

harmed Petitioner. 2 Nevertheless, the district court dismissed the claim for damages under the

Privacy Act on the ground that the Amended Complaint failed to plausibly plead that the

inaccurate and misleading content of Footnote 112 was “intentional or willful.” 3 “Intentional or

willful” does not require pleading mendacious conduct. The Privacy Act requires only that the

action taken in preparing an inaccurate and or misleading “record” was done with culpability

slightly greater than gross negligence, i.e., that action was taken in reckless disregard of the

privacy interest of the plaintiff. 4

          The Amended Complaint includes detailed allegations reciting how the contents of

Footnote 112 are unsupported. 5 Footnote 112 insinuates that the purported scandalous tapes

mentioned in the Steele Dossier were in the possession of the Crocus Group, a Russian real

estate conglomerate. It further implies that plaintiff cavorted with the owner of the group to

assure the tapes did not become public. 6 The Amended Complaint alleges that the special




2
  Memorandum Opinion (Docket Entry (DE) 32 at 19-20). That is all a claimant needs to prove
to require the Government to correct a flawed record. Despite these conclusions, the district
court dismissed Petitioner’s claims for equitable relief holding that no prospective relief is
possible, a profoundly flawed conclusion.
3
    Id. at 27-29.
4
  In re U.S. Office of Personnel Management Data Security Breach Litigation, 982 F.3d 42, 62-
63 (D.C. Cir. 2019); Wilkerson v. Shinseki, 606 F.3d 1256, 1268 (10th Cir. 2010) (stating that
reckless disregard for the rights of a plaintiff constitutes “intentional or willful” conduct under
the Privacy Act); Does v. U.S. Dept. of Labor, 451 F. Supp. 2d 156, 177 (D.D.C. 2006).
5
    Amended Complaint ¶¶ 21-23, 28-42 (DE 19-1 at 13-18).
6
 Defamation by implication is actionable so long as a plaintiff can show that the public
understood the defaming implications. Tah v. Global Witness Publishing, Inc., 991 F.3d 231
(D.C. Cir. 2021) (stating that in a case alleging defamation by implication under the District of

                                                 5
           Case 1:21-gj-00048-BAH Document 19 Filed 02/07/22 Page 9 of 13




prosecutors knew that there was no connection between Petitioner and the Steele Dossier, that

Petitioner had no contact with anyone associated with the Crocus Group about the purported

tapes, and that Petitioner had no knowledge about the whereabouts, existence, or authenticity of

such tapes. 7

         At the pleading stage those allegations are sufficient to defeat a motion to dismiss

particularly in a case like this one, where obtaining information sufficient to plead the required

culpability is difficult because the needed facts are in the sole possession of the defendant.

Indeed, even under the stringent pleading requirements for a fraud claim under Fed. R. Civ. P. 9,

detailed allegations of intent are not required where the needed facts are in the sole possession of

the defendant. 8 Getting at the circumstances leading to this reckless behavior would require

discovery. Perhaps that is why until the case was prematurely dismissed, DOJ misled Petitioner

in his attempt to review his grand jury testimony. 9

         The allegations in the Amended Complaint are confirmed by Petitioner’s grand jury

transcript. Petitioner’s Declaration summarizing his testimony states that the Mueller




Columbia law, courts are charged with responsibility of determining whether the challenged
statement(s) can convey a defamatory meaning).
7
    Amended Complaint ¶¶ 21-42 (DE 19-1 at 11-18).
8
 Doe v. Roman Catholic Diocese of Greensburg, No. 20-cv-1750, 2022 WL 203455, at *17
(D.D.C. 2022).

9 Petitioner requested the production of his grand jury transcript at the time he filed the Amended
Complaint and DOJ misled Petitioner to believe that DOJ was considering the request. Had the
case not been dismissed Petitioner would have received a copy of his grand jury transcript
through discovery. The transcript would have revealed to Petitioner’s counsel that the lead
prosecutor took an active role in questioning Petitioner even though she had a shocking conflict
of interest. That conflict gave the lead prosecutor the means and motive to imply in Footnote
112 that the compromising tapes existed and that a “Russian businessman” took steps to suppress
them.
                                                  6
           Case 1:21-gj-00048-BAH Document 19 Filed 02/07/22 Page 10 of 13




prosecutors knew that everything Petitioner knew about the purported compromising tapes he

heard from a friend. The prosecutors knew that the friend called him at his home in Connecticut

to relate that he had overheard a person while dining at an adjacent table bragging about tapes of

Donald Trump. The prosecutors knew that Petitioner took no actions to attempt to verify the

rumor. The prosecutors also knew Petitioner related this rumor to Michael Cohen because he

was working with the Trump Organization on a project to build a Trump Tower in the Republic

of Georgia, his native country. 10 They knew that after the Access Hollywood tapes were made

public—several weeks before the text exchanges between Petitioner and Cohen—that there was

widespread speculation that there might be other damaging tapes surfacing. 11 And the

prosecutors knew that the public—including Petitioner—did not become aware of the Steele

Dossier until several weeks after the 2016 presidential election.

          Simply put, Footnote 112 cannot be squared with Petitioner’s transcript. Further, the

review of Petitioner’s grand jury transcript revealed that the lead prosecutor, Jeannie Rhee, took

an active part in the questioning of Petitioner. 12 A background check after reviewing the

transcript revealed that the lead prosecutor had a massive and disqualifying conflict of interest

based upon her personal, political, and professional ties to the 2016 Democratic presidential

candidate Hillary Clinton. 13




10
     Amended Complaint ¶ 21 (DE 19-1 at 11).
11
     Id. ¶¶ 37-38 (DE 19-1 at 11).
12
     GR Dec. ¶¶ 2, 19-27 (Jan. 19, 2022) (Under Seal).
13
  Pet. Memo. in Support of Rule 60(b) Motion at 15-16 (Under Seal). Further, the lead
prosecutor withheld this conflict from the Special Counsel when she was appointed to the
Mueller team. Id. at 16.

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           Case 1:21-gj-00048-BAH Document 19 Filed 02/07/22 Page 11 of 13




          It does not require a leap in logic to conclude that the lead prosecutor—whether wittingly

or unwittingly—violated DOJ policy of protecting the privacy interests of nontargets when she

drafted Footnote 112 in reckless disregard for the privacy interests of Petitioner and then failed

to see that the defamation was redacted. The lead prosecutor knew that a statement in the

Mueller Report implying that compromising tapes—authentic or not—existed and were being

suppressed in Russia would confirm the narrative that emerged during the 2016 presidential

campaign about Trump’s pre-election contacts with Russian officials. And the lead prosecutor

knew that from a political perspective, Footnote 112 would hurt President Trump’s chances for

reelection the following year which would please former Candidate Clinton. These types of

conflicts of interest are why the prosecutorial ethics rules are so rigorous. 14

          There is no need to speculate about how the public understood the implications of

Footnote 112. As the Amended Complaint alleges in detail and as further detailed in Petitioner’s

Declaration filed with his opposition to DOJ’s motion to dismiss, the damage to Petitioner

caused by Footnote 112 was swift and cataclysmic. 15 The publication of an unredacted Footnote

112—contrary to DOJ’s stated policy to protect the privacy interests of nontargets—imposed

immediate tangible and dramatic negative changes in Petitioner’s status as an American

businessman. Petitioner had dedicated is adult life to fostering positive relations between his

adopted country, the United States, and his native country Georgia—something vital to both

countries in deterring Russian aggression.




14
     See Pet. Mem. in Support of Rule 60(b) Motion at 13-14 (Under Seal)
15
     Amended Complaint ¶¶ 60-61 (DE 19-1 at 24-25).

                                                   8
        Case 1:21-gj-00048-BAH Document 19 Filed 02/07/22 Page 12 of 13




Conclusion

       For these reasons and those in the Memorandum in Support of this Motion, Petitioner

respectfully requests that the Motion be granted, that DOJ be directed to produce Petitioner’s

grand jury transcript without restriction upon its use.

                                       Respectfully submitted,

                                       ______________________
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Dated: February 7, 2022                District of Columbia Bar No. 272260




                                                  9
       Case 1:21-gj-00048-BAH Document 19 Filed 02/07/22 Page 13 of 13




                              CERTIFICATE OF SERVICE

      I, Jerome A. Madden, hereby certify that on February 7, 2022, I caused to be served using

the CM ECF system a copy of the foregoing Reply upon:

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                                                         _________________
                                                         Jerome A. Madden




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